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                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF NEW YORK


 MMS IMPORTS INC.,                                 Civil Action No. _____________

                                 Plaintiff,        Removed from:

                   - against –                     Supreme Court of the State of New York,
                                                   County of Kings
 OHIO SECURITY INSURANCE COMPANY,
                                                   Index No.: 535910/2023
                                 Defendant.
                                                            NOTICE OF REMOVAL

TO:    Brenna B. Mahoney, Clerk of the Court
       United States District Court
       for the Eastern District of New York
       225 Cadman Plaza East
       Brooklyn, New York 11201

       Jack Glanzberg, Esq.
       MOLOD SPITZ & DeSANTIS, P.C.
       1430 Broadway, 21st Floor
       New York, New York 10018
       (646) 627-7181
       Attorneys for Plaintiff

       PLEASE TAKE NOTICE THAT pursuant to 28 U.S.C. §§ 1332 and 1441, Defendant

Ohio Security Insurance Company (“Ohio Security”), by its undersigned attorneys, Finazzo

Cossolini O’Leary Meola & Hager, LLC, hereby removes the above-captioned civil action, and all

claims and causes of action therein, from the Supreme Court of the State of New York, County of

Kings, to the United States District Court for the Eastern District of New York. The grounds for

removal are as follows.

       1.     On December 8, 2023, Plaintiff commenced this action in the Supreme Court of

New York, County of Kings, Index No. 535910/2023, by filing a Summons and Complaint.

       2.     On December 15, 2023, the Summons and Complaint was served upon the Director




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for Producer Licensing for the New York Department of Financial Services.

       3.       This Notice of Removal is timely filed pursuant to 28 U.S.C. § 1446(b)(3) because,

as detailed herein, it is filed within 30 days of December 15, 2023, the date on which the Director

for Producer Licensing for the New York Department of Financial Services acknowledged service

on behalf of Ohio Security of a paper from which it could be ascertained that the case is one which

is removable.

       4.       Copies of all process, pleadings and orders received by Ohio Security in the state

court action, consisting at this time solely of the Summons and Complaint and Acknowledgement

of Service, are attached hereto as Exhibit A.

       5.       This is a civil action of which this Court has original jurisdiction pursuant to 28

U.S.C. § 1332, and is one which may be removed to this Court by Ohio Security pursuant to the

provisions of 28 U.S.C. § 1441, in that it is a civil action between citizens of different states and

the matter in controversy exceeds the sum of $75,000, exclusive of interest and costs.

       6.       Ohio Security is a company organized under the laws of the State of New

Hampshire, with its principal place of business at 175 Berkeley Street, Boston, Massachusetts.

Accordingly, for the purposes of diversity jurisdiction, Ohio Security is a citizen of the State of

New Hampshire and the Commonwealth of Massachusetts.

       7.       According to Paragraph 1 of the Complaint, Plaintiff MMS Imports Inc. is a

domestic corporation duly existing and created under the laws of the State of New York, with its

principal place of business located at 774 Bedford Avenue, Brooklyn, New York 11205. See

Exhibit A, Complaint, ¶ 1. Accordingly, for the purposes of diversity jurisdiction, Plaintiff is a

citizen of the State of New York.

       8.       Accordingly, there is complete diversity of citizenship between the parties hereto,




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thereby satisfying the diversity of citizenship requirement of 28 U.S.C. § 1332.

       9.      Per Paragraph 9 of the Complaint, Plaintiff has sustained damages of “not less than

$200,000.” See Exhibit A, Complaint, ¶ 9.

       10.     Accordingly, the amount in controversy exceeds the sum of $75,000 exclusive of

interest and cots, thereby satisfying the amount in controversy requirement of 28 U.S.C. § 1332.

       11.     Ohio Security will promptly serve a copy of this Notice of Removal on Counsel for

Plaintiff and will file a copy of this Notice of Removal with the Clerk the Supreme Court of the

State of New York, County of Kings, pursuant to 28 U.S.C. § 1446(d).

       WHEREFORE, Defendant Ohio Security Insurance Company, under 28 U.S.C. §§ 1332

and 1441, removes this action in its entirety from the Supreme Court of the State of New York,

County of Kings, to the United States District Court for the Eastern District of New York.

Dated: New York, New York
       January 12, 2024                      FINAZZO COSSOLINI O’LEARY
                                             MEOLA & HAGER, LLC

                                             By: /s/ Rachel R. Hager_________
                                                    RACHEL R. HAGER, ESQ.
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                                                    Attorneys for Defendant
                                                    Ohio Security Insurance Company




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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 12th day of January 2024, the foregoing Notice of Removal,

with attachments, was electronically filed with the Clerk of the Court, United States District Court

for the Eastern District of New York, and that a copy of the same was served via electronic mail

upon the following known counsel of record:

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       MOLOD SPITZ & DeSANTIS, P.C.
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       Attorneys for Plaintiff


                                                     /s/ Rachel R. Hager_______
                                                     RACHEL R. HAGER, ESQ.




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